Case 1:16-cv-01122-VEC Document 147-3 Filed 01/11/21 Page 1 of 6




                 Exhibit 2
        Case 1:16-cv-01122-VEC Document 147-3 Filed 01/11/21 Page 2 of 6




                            UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF NEW YORK

      MICHELLE MARINO, DEBORAH                            CASE NO.:
      ESPARZA, MONICA RAEL, and                           1:16-cv-01122-VEC (OTW) (Lead)
      CERA HINKEY, on behalf of
      themselves and all others similarly                 Consolidated Member Case Nos.:
      situated,                                           1:16-cv-03773-VEC (OTW)
                                                          1:16-cv-03677-VEC (OTW)
                      Plaintiffs,                         1:16-cv-05320-VEC (OTW)

        v.

      COACH, INC.,



                              DECLARATION OF JEFF OSTROW

        I, Jeff Ostrow, declare as follows:

        1.      I am one of the counsel for the Plaintiffs in this case. I submit this affidavit in

support of Plaintiffs’ Unopposed Motion for Final Approval of Class Action Settlement.

        2.      The facts contained in this Affidavit are within my personal knowledge, and I could

testify to those facts if called to do so under oath.

        3.      I was first admitted to practice law in 1997 in Florida. (Bar No. 121452). I have

been admitted pro hac vice in this matter.

        4.      I am a graduate of Nova Southeastern University Shepard Broad College of Law

(J.D., 1997) and the University of Florida (B.B.A., 1993).

        5.      I have been in private practice since 2006, and a large portion of my practice has

involved litigation on behalf of consumers, representing individuals and classes injured by

predatory banking practices, unlawful insurance practices, violations of the Telephone Consumer

Protection Act, and other unfair and deceptive business practices.

        6.      Over the past twenty-three years, I have gained substantial experience handling

complex civil litigation and class action litigation. With co-counsel, I have taken two cases to trial,

including jury trials that have lasted several months.

                                                   1
        Case 1:16-cv-01122-VEC Document 147-3 Filed 01/11/21 Page 3 of 6




       7.      I was lead counsel from Kopelowitz Ostrow P.A. in this case. As reflected below,

my time accounts for 54.2% of our firm’s time billed to this matter.

       8.      Currently, Kopelowitz Ostrow P.A. serves as co-lead counsel in the class action

against Spirit Airlines, See Hill v. Spirit Airlines, Inc., 20-cv-60746-RKA (S.D. Fla.); co-lead

counsel in the multidistrict litigation against the producers of Zantac, See In re Zantac (Ranitidine)

Prods. Liab. Litig., 9:20-md-02924-RLR (S.D. Fla.); liaison counsel in a multidistrict class action

antitrust case against four of the largest contact lens manufacturers pending before Judge

Schlesinger in the Middle District of Florida. See In Re: Disposable Contact Lens Antitrust

Litigation, MDL 2626; liaison counsel in In re 21st Century Oncology Customer Data Security

Beach Litig., MDL 2737 (M.D. Fla.); and liaison counsel in In re Farm-Raised Salmon and Salmon

Products Antitrust Litig., No. 19-21551 (S.D. Fla.).

        9.      Kopelowitz Ostrow P.A. possesses extensive knowledge of and experience in

prosecuting nationwide and multi-state class actions in courts throughout the United States. KO

Lawyers has successfully litigated and resolved many class actions against similar major

corporations and has recovered hundreds of millions of dollars for the people they represented.

The experience, resources and knowledge Kopelowitz Ostrow P.A. brings to this action are

extensive is formidable. See e.g., Lloyd v. Navy Federal Credit Union, 17-cv-01280-BAS-RBB

(S.D. Ca. 2019); Papa v. Grieco Ford Fort Lauderdale, LLC, 18-cv-21897-JEM (S.5D. Fla. 2019);

Bloom v. Jenny Craig, Inc., 18-cv-21820-KMM (S.D. Fla. 2019); Farrell v. Bank of America,

N.A., 3:16-cv-00492-L-WVG (S.D. Ca. 2018); DiPuglia v. US Coachways, Inc., 1:17-cv-23006-

MGC (S.D. Fla. 2018); Bodnar v. Bank of America, N.A., 5:14-cv-03224-EGS (E.D. Pa. 2015);

Hawkins v. First Tennessee Bank, CT-004085-11 (13th Judicial District Tenn. 2017); Swift. v.

Bancorpsouth, 1:10-CV-00090 (N.D. Fla. 2016); Case v. Bank of Oklahoma, 09-MD-02036 (S.D.

Fla. 2012); Orallo v. Bank of the West, 1:09-MD-202036 (S.D. Fla. 2012); Taulava v. Bank of

Hawaii, 11-1-0337-02 (1st Cir. Hawaii 2011); Gattinella v. Michael Kors (USA), 14-Civ-5731

(WHP) (S.D. NY 2015).



                                                  2
        Case 1:16-cv-01122-VEC Document 147-3 Filed 01/11/21 Page 4 of 6




        10.    A former partner at my office, Scott Edelsberg, also worked on this case. Mr.

Edelberg graduated from the University of Miami School of Law in 2012. Prior to that, Mr.

Edelsberg graduated from the University of Michigan in 2009. Mr. Edelsberg is admitted to

practice in Florida (Bar No. 100537) and California. A partner at my office, Jonathan Streisfeld,

also worked on this case. Mr. Streisfeld graduated from Nova Southeastern University Shepard

Broad College of Law in 1997. Prior to that, Mr. Streisfeld graduated from Syracuse University

in 1994. Mr. Streisfeld is admitted to practice in Florida (Bar No. 117447).

 Name                Position           Total Hours         Adjusted Rate      Lodestar

 Jeff Ostrow         Partner            53.00               $759               $59,885.10
 Jonathan            Partner            12.75               $465               $5,533.50
 Streisfeld
 Scott Edelsberg     Partner            31.00               $206               $1,153.60



 TOTAL                                  96.75                                  $67,870

        11.    The above chart was prepared from contemporaneous detailed daily time records

regularly prepared and maintained by Kopelowitz Ostrow P.A. utilizing timekeeping software to

which all employees have access. In my opinion, the time spent by attorneys and staff of

Kopelowitz Ostrow P.A. was reasonable and necessary. Indeed, by prosecuting this case purely

on a contingency basis and not being paid by the hour, Kopelowitz Ostrow P.A. attorneys and staff

worked efficiently and avoided unnecessary work. The detailed time and expense entries are

available to the Court en camera upon request.

        12.    Kopelowitz Ostrow P.A. incurred $1,558.21 in unreimbursed case-related

expenses, including expenses related to filing, travel, copying, and case administration. Expenses

are accounted for and billed separately and are not duplicated in my firm’s professional billing

rate. Kopelowitz Ostrow P.A. has not received reimbursement for expenses incurred in connection


                                                 3
        Case 1:16-cv-01122-VEC Document 147-3 Filed 01/11/21 Page 5 of 6




with this litigation. The actual expenses incurred in the prosecution of this case is reflected on the

computerized accounting records of my firm prepared by bookkeeping staff, based on receipts and

check records, and accurately reflect all actual expenses incurred. These expenses were necessary

to prosecuting litigation of this size and complexity on behalf of the Settlement Class, and they are

typical of expenses regularly awarded in large-scale class actions. Indeed, because Kopelowitz

Ostrow P.A. was responsible for advancing all expenses incurred, Kopelowitz Ostrow P.A. had a

strong incentive not to spend any funds unnecessarily.

       13.     The hourly rates are based on the typical hourly rates for lawyers of similar

experience in the communities in which Class Counsel practice.

       14.     The hourly rates shown for the attorneys at Kopelowitz Ostrow P.A. are our 2020-

2021 rates charged as delineated by the Adjusted Laffey Matrix (http://www.laffeymatrix.com/),

which provides market rates for attorneys working in the Washington, D.C. area. See, e.g., DL v.

Dist. of Columbia, 924 F.3d 585 (D.C. Cir. 2019) (discussing the history and basis of the Laffey

matrix). Although the Adjusted Laffey Matrix is updated annually, courts have awarded attorneys’

fees consistent with the Adjusted Laffey Matrix to my firm in a number of cases. See, e.g., Kumar

v. Salov North America Corp., No. 14-CV-2411-YGR, 2017 WL 2902898 (N.D. Cal. July 7,

2017); Stathakos v. Columbia Sportswear Co., No. 15-CV-04543-YGR, 2018 WL 1710075, at *6

(N.D. Cal. Apr. 9, 2018); Meta v. Target Corp., et al., No. 14-cv-0832 (N.D. Ohio Aug. 7, 2018),

Dkt. 179; In re Think Finance, LLC, et al., No. 17-bk-33964 (Bankr. N.D. Tex.); Brown v.

Transurban USA, Inc., No. 1:15CV494 (JCC/MSN), 2016 WL 6909683 (E.D. Va. Sept. 29, 2016);

Small v. BOKF, N.A., No. 1:13-cv-01125-REB-MJW (D. Colo.); Soule v. Hilton Worldwide, Inc.,

No. CV 13-00652 ACK-RLP, 2015 WL 12827769 (D. Haw. Aug. 25, 2015); Beck v. Test Masters

Educ. Servs., Inc., 73 F. Supp. 3d 12 (D.D.C. 2014); see also Mancini v. Dan P. Plute, Inc., 358



                                                  4
       Case 1:16-cv-01122-VEC Document 147-3 Filed 01/11/21 Page 6 of 6




F. App’x 886 (9th Cir. 2009) (accepting Adjusted Laffey Matrix as evidence of reasonable hourly

rates charged by Washington, D.C. attorneys).



Executed at Fort Lauderdale, Florida this 11th day of January 2021.



                                                    s/ Jeff Ostrow
                                                    Jeff Ostrow, Esq.




                                                5
